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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



 IN RE: NATIONAL PRESCRIPTION                        Case No. 1:17-MD-2804
       OPIATE LITIGATION

      THIS DOCUMENT RELATES TO:
             Track One-B Trial


             SUMMARY SHEET FOR RITE AID’S MOTION IN LIMINE
         TO EXCLUDE ORDERS FROM NON-DEFENDANT DISTRIBUTORS

      The Court should bar Plaintiffs from offering evidence concerning orders distributed to
       Rite Aid of Ohio pharmacies by any distributor other than Rite Aid of Maryland. Fed. R.
       Evid. 401 and 403.

      Plaintiffs sued Rite Aid of Maryland based on its distribution of Schedule III hydrocodone
       combination products to Rite Aid of Ohio pharmacies in Cuyahoga and Summit Counties.

      Rite Aid of Maryland did not distribute Schedule II opioid medications. Rather, a non-
       defendant distributor (McKesson) distributed those medications to Rite Aid of Ohio
       pharmacies.

      As a result, McKesson’s distribution of Schedule II opioid medications, such as oxycontin,
       is irrelevant to Plaintiffs’ claim against Rite Aid of Maryland based on its distribution of
       Schedule III hydrocodone combination products.

       Evidence that a Rite Aid pharmacy ordered medications from McKesson—particularly
       orders that were never distributed by Rite Aid of Maryland—would not demonstrate that
       Rite Aid of Maryland failed to monitor suspicious orders.

      Even if evidence of these orders had some marginal probative value, it would be
       substantially outweighed by the danger of unfair prejudice, confusing the issues,
       misleading the jury, undue delay, and wasting time under Rule 403. This evidence would
       risk misleading the jury into believing that Rite Aid of Maryland can be held liable for
       alleged misconduct of a non-defendant distributor.
